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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES -- GENERAL

Case No.       CV 18-9453-MWF(ASx)                                         Dated: March 4, 2019

Title:         Mon Cheri Bridals, LLC et al -v- Cloudflare, Inc. et al.

PRESENT:       HONORABLE MICHAEL W. FITZGERALD, UNITED STATES DISTRICT JUDGE

               Rita Sanchez                                  Amy Diaz
               Courtroom Deputy                              Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFFS:                     ATTORNEYS PRESENT FOR DEFENDANTS:

               Robert B. Owens                              Andrew P. Bridges


PROCEEDINGS:                MOTION TO DISMISS [23]; MOTION TO TRANSFER [24]

         Case called, and counsel make their appearance.

      The Court invites counsel to present their oral arguments. Arguments by counsel are
heard. For the reasons stated on the record, the Court takes the matter under submission. An
order will issue.

         IT IS SO ORDERED.




                                                                  Initials of Deputy Clerk    Rs   
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